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District of New Jersey

Case number (if known):

United States Bankruptcy Court for the:

Ly

O) Chapter 11

QO) Chapter 12
4 Chapter 13

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

Chapter you are filing under: Joo %
QO) Chapter 7 Ana pee =

Desc

ret CQ) Check if this is an
ls amended filing

Jf 675°

12/22

The bankruptcy forms use you and Debfor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

Identify Yourself

1. Your full name

Write the name that is on your
government-issued picture
identification (for example,
your driver's license or
passport).

Bring your picture
identification to your meeting

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
Natalie

First name First name

Day

Middle name Middle name

Freeman

Last name Last name

with the trustee.

2. All other names you
have used in the last 8
years

Include your married or
maiden names and any
assumed, trade names and
doing business as names.

Do NOT list the name of any
separate legal entity such as
a corporation, partnership, or
LLC that is not filing this
petition.

Suffix (Sr., Jr., Il, Ill)

Suffix (Sr., Jr. Il, Il)

First name First name
Middle name Middle name
Last name Last name
First name First name
Middle name Middle name
Last name Last name

Business name (if applicable)

Business name (if applicable)

3. Only the last 4 digits of
your Social Security
number or federal
Individual Taxpayer
Identification number
(ITIN)

XXX — XX —
OR
9xx — xx -

Business name (if applicable)

Business name (if applicable)

XXX — XX —
OR
Oxx -— xx -

Official Form 101

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Debtor 1

Petition

Natalie Day Freeman

First Name Middle Nama

Lasi Name

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Case number (i known)

4. Your Employer
Identification Number
(EIN), if any.

About Debtor 1:

EN

EiN ~~

EIN

EN

About Debtor 2 (Spouse Only in a Joint Case):

5. Where you live

12 Hummingbird Drive

If Debtor 2 lives at a different address:

Number Street

Number Street

Manalapan NJ 07726
City State ZIP Code
Middlesex

County

if your mailing address Is different from the one
above, fill it in here. Note that fhe court will send
any notices to you at this mailing address.

City State ZIP Code

County

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

this district te file for
bankruptcy

Over the fast 180 days before filing this petition,
| have lived in this district anger than in any
other district.

C] I have ancther reason. Explain.
(See 28 U.S.C. § 1468.)

Number Street Number Street

P.O. Box P.O. Box

Cily State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

(C3 Over the last 180 days before filing this petition,
| have lived in this district onger than in any
other district.

CJ | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

Debtor 1

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Natalie Day Freeman

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Case number (known

First Name

Middle Name

Last Name

a Tell the Court About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing te file
under C) Chapter 7
CL} Chapter 41
LI Chapter 12
Chapter 13
2. How you will pay the fee (JI will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typicaily, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
1 I need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Installments (Official Form 103A),
L) | request that my fee be waived (You may request this option only if you are filling for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty fine that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.
9. Have you filed for W No
bankruptcy within the
last 8 years? (al Yes. District When Case number
MM/ OD /YYYY
District When Case number
MM/ DD /YYYY
District When Case number
MM/ DD/YYYY
+0. Are any bankruptcy i@ No
cases pending or being
filed by a spouse who is Ld Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MMIDD /YYYY
partner, or by an
affiliate?
Debtor Retationship to you
District When Case number, if known.
MM {DD /YYYY
11. Do you rent your YI No. Goto line 12.
residence? 1 Yes. Has your fandlord obtained an eviction judgment against you?

Official Form 1014

UJ No. Go to tine 12.

C2 Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Debtor 1

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Natalie Day Freeman

Desc

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Case number (if kiawn),

First Name

Middle Name

Last Name

Eo Report About Any Businesses You Own as a Sole Proprietor

12, Are you a sole proprietor

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is nota
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

No. Go to Part 4.

(J) Yes. Name and location of business

Name of business, if any

Number Street

City State ZIP Code

Check the appropriate box to describe your business:

C] Health Care Business (as defined in 14 U.S.C. § 101(27A)}
LI] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CE Stockbroker (as defined in 14 U.S.C. § 101(53A))

LJ Commodity Broker (as defined in 11 U.S.C. § 101(6))

LJ None of the above

13.

Are you filing under
Chapter 11 of tie
Bankruptcy Code, and
are you a smail business
debtor or a debtor as
defined by 11 U.S. C.§
1182(1)?

For a definition of smal!
business debtor, see

41 U.S.C. § 101(51D).

Official Form 101

if you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
choosing to proceed under Subchapter V so that it can set appropriate deadlines. \f you indicate that you
are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

CY No. jam not filing under Chapter 11.

C) No. | am filing under Chapter 41, but 1am NOT a small business debtor according to the definition in
the Bankruptcy Code.

(J Yes. | am filing under Chapter 14, | am a small business debtor accarding to the definition in the Bankruptcy
Cade, and | do not choose to proceed under Subchapter V of Chapter 11.

LJ Yes. | am filing under Chapter 11, am a debtor according to the definition in § 1182(1) of the
Bankruptcy Code, and | choose te proceed under Subchapter V of Chapter 11.

Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1 Natalie Day Freeman Case aumber (i krown}

First Name Middie Name Last Name

Ea Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

44. Do you own or have any No
property that poses or is .
alleged to pose athreat © Yes. Whatis the hazard?

of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs lf immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?
Where is the property?

Number Street

City State ZIP Cade

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 5
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Debtor 1 Natalie Day Freeman

Fisst Name Middle Name

Last Name

Gase number (if known)

a Explain Your Efforts to Receive a Briefing About Credit Counseling

45. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file,

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again,

Official Form 101

About Debtor 1:

You must check one:

id | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Aitach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after yau file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

LJ | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
wnat efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadiine is granted
only for cause and is limited to a maximum of 15
days.

(3 tam not required to receive a briefing about
credit counseling because of:

LJ Incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances,

(J Disability. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

(2) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

() | received a briefing from an approved credit
counseling agency within the 180 days before!
filed this bankruptcy petition, but i do not have a |
certificate of completion.

Within 14 days after you file this bankruptey petition, ;
you MUST file a copy of the certificate and payment :
plan, if any. :

C] | certify that 1 asked for eredit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after 1 made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do se, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 45
days.

C} f am not required to receive a briefing about
credit counseling because of:

LJ Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

() Disability. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

CI Active duty. | am currently on active military
duty in a military combat zone.

If you belleve you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court. :

Bankruptcy page 6
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Debtor 4 Natalie Day Freeman Gase NUMbET (if koown)

First Name Middle Name Last Name

ro Answer These Questions for Reporting Purposes

16a, Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

LI No. Go to line 16b.
Yes. Go to line 17.

+6. What kind of debts do
you have?

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

CJ No. Go to fine 16c.
C} Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

17. Are you filing under

Chapter 7? id No. | am not filing under Chapter 7. Go to line 18.

Do you estimate that after CQ Yes. ! am filing under Chapter 7, Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and C] No

administrative expenses

are paid that funds will be CL] Yes

available for distribution
to unsecured creditors?

18, How many creditorsdo ‘J 1-49 CJ 1,000-5,000 LJ 25,001-50,000
you estimate that you () 50-99 L] 5,001-10,000 C) §0,001-100,000
owe? C] 100-799 LJ 1+0,001-25,000 C1 More than 100,060
(J 200-999
49. How much do you CL) $0-$50,000 C2 $1,000,001-$10 million LJ $500,000,001-$1 billion
estimate your assets to 1) $50,001-$100,000 CJ $10,000,001-$50 million C} $1,000,060,004-$40 bition
be worth? $100,004-$500,000 [2 $50,000,004-$100 million ©) $10,000,000,001-$50 billion
LJ $500,001-$1 million LJ $100,000,004-$500 million LJ More than $50 billion
20. How much do you L] $0-$50,000 C3 $1,000,001-$10 milion (al $500,000,001-$4 billion
estimate your liabilities 1 $50,001-$100,000 L} $10,000,001-$50 million CJ $1,000,000,001-$10 billion
to be? C) $100,001-$500,000 (23 $50,000,001-$100 million OD $10,000,000,001-$50 billion
C) $500,001-34 million LL) $100,000,001-$500 million C) More than $50 billion

uieee Sign Selow

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

if |have chosen to file under Chapter 7, 1 am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and I did net pay or agree to pay someone whe is not an attorney to help me fill out
this document, | have obtained and read the notice required by 17 U.S.C. § 342(b).

} request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

funderstand making a false statement, concealing property, or obtaining money or property by fraud in connection
with @ bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

48 US.C, §§ 152, 1341, 1519, and 3571.
XY Miputel fhe x

Signature of Debtor 1 Ae fi Ne { of Signature of Debtor 2
Executed on Q 4 [ 2 / 2024 Executed on

/ DD FYYYY MM / DD IYYYY

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Debtor # Natalie Day Freeman Case number (rtmun)

First Nama Middla Name Last Name

. 1, the attorney for the debtor(s} named in this petition, declare that | have informed the debtor(s) about eligibility

For your attorney, if you are fo proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

represented by one available under each chapter for which the person |s eligible. | also certify that | have delivered to the debtor(s)
the notice required by 17 U.S.C. § 342(b} and, in a case in which § 707(b)(4)(D) applies, certify that | have no

If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

by an attorney, you do not

need to file this page. x
Date
Signature of Attorney for Debtor MM / DD IYYYY
Printed name
Firm name
Number Street
City State ZiP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Debtor t Natalie Day Freeman Case number (known)

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly file and handie your bankruptcy case, The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit, If that happens, you could lose your right to file another
case, or you may lose protections, Including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LJ No
ii Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

OQ No

Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
i No

CQ Yes. Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that j understand the risks involved in filing without an attorney. |
have read and understood this notice, and i am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x Mucbatt kh 4. x

Signature of Debtor 1 as Powe oF Signature of Debtor 2
a horney
Date 04/23/2024 Date
MM/DD /YYYY MM/ DD IYYYY
Contact phone (201) 755-8700 Contact phone
Cell phone Cell phone
Email address Mikedeleon03 14@gmail.com Email address

Official Form 701 Voluntary Petition for Individuals Filing for Bankruptcy page 9
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Natalie Day Freeman Creditors
1. McGovern Legal Services- HOA for Elm Court.
a. 850 Carolier Lane North Brunswick, NJ $
7,604
2. Capital One Visa Card
a. Payment Processing PO BOX 71083 Charlotte, NC
28272-1083 $2,500
3. Nelnet- Student Loans
a. PO Box 82561 Lincoln, NE 68501-
2561 $50,825
4, Mission Lane Credit card
a. Mission Lane LLC- PO Box 105286 Atlanta, GA
30348-5286 $980

Desc
